                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR09-4060-MWB
 vs.                                          REPORT AND RECOMMENDATION
                                                 ON MOTION TO SUPPRESS
 HANK EDWARD HARRINGTON,
               Defendant.
                                ____________________

        On November 19, 2009, the grand jury returned a seven-count indictment charging
the defendant Hank Edward Harrington, together with codefendants Chad Jay Larson and
Jamie Alissa Peterson, with drug and firearm charges. Harrington is charged in Count 1
with conspiracy to manufacture and distribute methamphetamine, in Count 3 with
manufacturing methamphetamine, in Count 4 with manufacturing or distributing
methamphetamine, and in Count 7 with being an unlawful user of methamphetamine in
possession of firearms. The Indictment also includes forfeiture allegations. See Doc.
No. 1. On December 16, 2009, the grand jury returned a Superseding Indictment against
the same defendants that amended the time frame of the conspiracy charged in Count 1.
See Doc. Nos. 34 & 35.
        On January 19, 2010, Harrington filed a motion to suppress evidence arising from
the search of his vehicle on July14, 2009. Doc. No. 60. The Trial Management Order
assigned motions to suppress to the undersigned for appropriate disposition. See Doc.
No. 29. The court held a hearing on the motion on February 4, 2010, at which Assistant
United States Attorney Kevin Fletcher appeared on behalf of the plaintiff (the
“Government), and Harrington was present with his attorney, Paul Scott. The Government
called three witnesses at the hearing, to-wit: Buena Vista County Sheriff’s Deputies Marty
DeMuth and Joseph Speers, and Iowa Division of Narcotics Enforcement Agent Chris
Nissen. Two exhibits were admitted into evidence, to-wit: Gov’t Ex. 1a - a CD containing


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a video recording of officers’ interview of Harrington on July 14, 2009; and Gov’t Ex. 1b
- a CD containing audio recordings of two conversations between Harrington and Nissen
on July 14, 2009.
       The court has reviewed the parties’ briefs and the Government’s exhibits, and
considered the witnesses’ testimony and the arguments of counsel, and makes the following
report and recommendation on the motion to suppress.


                                BACKGROUND FACTS
       On July 10, 2009, Buena Vista County law enforcement officers, including Deputy
Speers, executed a search warrant at the residence of Chad Larson and Jamie Peterson.
When they arrived at the residence, Harrington was standing outside next to a dark blue
pickup truck. Larson and Peterson were present, as was Peterson’s daughter.
       The officers also had arrest warrants for Larson and Peterson for buying in excess
of the legal limit of pseudoephedrine. In reviewing pill logs, Speers had seen Harrington’s
name on occasion, but Harrington had not violated any laws relating to his purchase of
pseudoephedrine pills.
       During the search of the Larson residence, the officers located a number of items
associated with a methamphetamine manufacturing lab. Harrington was allowed to leave
the scene because the officers had no evidence that he had done anything illegal. The
officers asked Harrington if he would take Peterson’s daughter home, and he agreed.
       After the search, the officers spoke with Peterson briefly, but she then asked for an
attorney and they stopped speaking with her. The next day, July 11th, Peterson asked to
speak with Speers. Speers and a Storm Lake police officer interviewed Peterson, and she
provided them with information on numerous subjects who were connected with
methamphetamine manufacturing and distribution. Peterson stated Harrington had not
been involved in the methamphetamine “cook” that had taken place on July 9-10, 2009,
but Harrington had on occasion supplied her and Larson with anhydrous ammonia and

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pseudoephedrine pills in exchange for methamphetamine. She was not sure if Harrington
had supplied the anhydrous for the cook on July 9-10, 2009, or if Larson had procured the
anhydrous himself.
       Officers from the Buena Vista County Sheriff’s office contacted Agent Nissen on
July 13, 2009, to ask him to assist in an investigation of methamphetamine manufacturing
in Buena Vista County. He met with the officers and they discussed the search warrant
that had been executed at Larson’s residence on July 10th. Nissen returned to Buena Vista
County on July 14th, with the intention of attempting to make contact with Harrington and
another individual, Brittany Wirtjers, whom Peterson had mentioned as being involved in
methamphetamine manufacturing activities.
       Nissen and Speers left the Buena Vista County Sheriff’s office in Nissen’s vehicle,
a black Chevrolet extended-cab pickup truck. The truck is equipped with a red-and-blue
emergency light system, headlight flashers or “wigwags,” and a full siren system. The
officers were in plain clothes and Nissen’s truck is unmarked. The officers first went to
see Wirtjers in Sac City, Iowa. She provided them with some information, but nothing
regarding Harrington. The officers next went to Harrington’s residence in Truesdale,
Iowa, but Harrington was not home. They then went to Harrington’s father’s residence
southeast of Storm Lake, Iowa, and Harrington’s father stated Harrington had just left and
was heading back home. Nissen and Speers decided to try to catch up with Harrington.
       The officers left Harrington’s father home traveling northbound on Highway 71
towards Truesdale. They met a truck traveling southbound, and Speers recognized the
truck as Harrington’s because Speers had seen the truck at Larson’s residence when the
search warrant was executed. The officers turned around and began following Harrington.
Harrington turned westbound on 580th Street, which is a gravel road. Nissen testified the
officers were quite a ways back from Harrington’s vehicle, and Harrington was traveling
at a high rate of speed. He believed Harrington had increased his speed to greater than the
55-mile-per-hour posted speed limit.

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       When they had traveled about a mile westbound on the gravel road, Harrington
slowed somewhat but went through a stop sign without stopping. The officers continued
to follow Harrington while Speers placed a call to Deputy DeMuth, who was on duty at
the Sheriff’s office. DeMuth drives a marked patrol car and was in uniform. Speers asked
DeMuth to come to the area to initiate a traffic stop of Harrington based on the fact that
Speers and Nissen had witnessed Harrington run the stop sign. DeMuth agreed, and
started toward the area in his patrol car. Before DeMuth arrived in the area, Harrington
stopped at a stop sign on 110th Avenue where it dead-ends into C-49. At the time
Harrington stopped, Nissen and Speers were approximately 100 yards behind him.
       Nissen and Speers pulled up behind Harrington, and they could see Harrington
looking at them in his rearview mirror. They concluded Harrington knew they were
following him, so Nissen decided to make contact with Harrington. Nissen was aware that
his truck was unmarked and the officers were in plain clothes, so immediately as he exited
his truck, he displayed his credentials so Harrington could see them in his side mirror as
Nissen approached his truck. Nissen continued to display his credentials all the way up
to the driver’s window of Harrington’s truck. Speers also exited Nissen’s truck and
walked forward to the right rear of Harrington’s truck, where he stopped and waited.
       When Nissen reached Harrington’s truck, the driver’s side window was down.
Nissen introduced himself and showed Harrington his credentials. Nissen testified he did
not have his firearm drawn, and he had never activated his emergency lights. Nissen did
not mention the traffic violation, but he told Harrington that he was a narcotics agent and
he wanted to talk to Harrington about a methamphetamine manufacturing investigation.
Nissen kept his tone “very casual,” because he wanted the encounter to remain completely
voluntary and noncustodial. Nissen observed that Harrington appeared to be very nervous.
Nissen asked Harrington if he would be willing to talk with the officers for a few minutes.
According to Nissen, Harrington said something like, “I’ve gotta tell you, I’ve got guns
in the back of my truck.” Nissen asked Harrington if he would step out and come to the

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back of the truck so they could have a conversation. Nissen testified that if Harrington had
declined to be interviewed, or had just driven away, then the officers would have continued
to follow Harrington until DeMuth could stop him for the traffic violation. However,
Harrington agreed to talk with the officers. Harrington got out and walked to the back of
his vehicle, put the tailgate down, and sat down on the tailgate. According to Nissen, only
a few seconds had passed from the time he first made contact with Harrington until
Harrington got out of his vehicle.
       Nissen told Harrington that the officers were in the middle of a narcotics
investigation, they knew Harrington was an associate of Larson’s, and Larson was in
custody. Nissen asked Harrington if he was a drug user and when he last used drugs.
Harrington stated he was a methamphetamine user, and he had last used methamphetamine
the preceding day. Nissen testified that Harrington exhibited physical signs of metham-
phetamine use. He appeared extremely agitated and fidgety, and he made quick, excited
body movements. Nevertheless, he was coherent and cooperative, and Nissen believed
Harrington understood his questions, his responses were appropriate to the questions, and
he was able to carry on a conversation.
       Nissen asked Harrington if he would come to the Buena Vista County Sheriff’s
office and talk with them, and Harrington agreed. Nissen told Harrington that the
interview was voluntary. Harrington was never handcuffed, and neither of the officers
touched him. Because Harrington appeared extremely agitated and had said there were
firearms in his vehicle, Nissen asked if Harrington would allow Speers to drive his truck.
Harrington indicated that would be fine. Speers got into Harrington’s truck, started the
engine, and began to drive toward the Sheriff’s office. Harrington rode in the front
passenger’s seat of Nissen’s truck.
       Immediately after Nissen and Harrington entered Nissen’s truck, Nissen activated
a digital audio recorder. Their conversation appears as the first file on Gov’t Ex. 1b.
They had a conversation in which Nissen confirmed that Harrington had stated he had

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firearms in his truck, had consented to the interview, had allowed Speers to drive his
truck, and had agreed to come with Nissen in his truck. Nissen estimates that from the
time Harrington stopped at the stop sign to the time they reached the Sheriff’s office, about
ten to fifteen minutes elapsed.
       At the Sheriff’s office, the firearms were removed from Harrington’s truck and
were secured. The officers advised Harrington repeatedly that he was there voluntarily,
and if he ever wanted to leave or felt threatened in any way, he could leave. They asked
Harrington to step into an interview room, where they interviewed him. The interview
was recorded on audio and video. After they exited the interview room, Nissen again
activated his digital audio recorder, and his further conversation with Harrington is
contained in the second file on Gov’t Ex. 1b.
       Rather than allowing Harringon to drive to his father’s residence, the officers drove
him there because during the interview, they learned that he actually had last used
methamphetamine that morning, and they did not want him to drive in an altered condition.
Harrington stayed at his father’s residence, and the officers left.


                                      DISCUSSION
       Harrington argues the officers “stopped” Harrington, and the stop was illegal
because the officers never told Harrington he was being stopped for running a stop sign.
He argues he was not free to leave, and the encounter was custodial. He further argues
that he was under the influence of drugs, affecting his judgment and his ability to consent
to the interview. He cites cases dealing with warrantless searches under the Fourth
Amendment, and argues, “This is a bad stop case.” Doc. No. 60.
       Little discussion is required to resolve Harrington’s motion. The court finds there
was no “stop,” no search, and no seizure. The officers’ contact with Harrington was not
even an investigative stop under Terry v. Ohio, 391 U.S. 1, 88 S. Ct. 1868, 20 L. Ed. 2d
889 (1968) (holding an officer may stop and detain someone briefly for purposes of inquiry

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when officer believes criminal activity may be afoot).         The officers did not stop
Harrington; he stopped at a stop sign, saw the officers in his rearview mirror, and, on this
record, simply waited until Nissen got out of his truck and made contact with him.
Harrington was not detained in any sense of the word. He was asked if he would talk with
the officers. He agreed, voluntarily exited his vehicle, consented to have Speers drive his
truck to the Sheriff’s office, and voluntarily got into Nissen’s truck and rode with him the
short distance to the Sheriff’s office.
       The Government’s exhibits clearly show that the encounter between Harrington and
the officers was voluntary and noncustodial. The audio and video tapes also demonstrate
that Harrington was coherent, responded appropriately to questions, and was fully capable
of consenting to be interviewed. Harrington’s motion to suppress should be denied.
       Accordingly, for the reasons discussed above, IT IS RESPECTFULLY
RECOMMENDED that Harrington’s motion to suppress be denied. Objections to this
Report and Recommendation must be filed by February 22, 2010.                Responses to
objections must be filed by February 25, 2010.
       IMPORTANT NOTE: Any party planning to lodge any objection to this Report
and Recommendation must order a transcript of the hearing promptly, but no later than
February 18, 2010, regardless of whether the party believes a transcript is necessary to
argue the objection. If an attorney files an objection without having ordered the transcript
as required by this order, the court may impose sanctions on the attorney.
       IT IS SO ORDERED.
       DATED this 17th day of February, 2010.




                                            PAUL A. ZOSS
                                            CHIEF MAGISTRATE JUDGE
                                            UNITED STATES DISTRICT COURT



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